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                      UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA
                          Newport News Division


UNITED STATES OF AMERICA

v.                                         Criminal Case No. 4:06cr60

JAVON SAVOY,

          Defendant.


                                   ORDER

     In accordance with the Bail Reform Act, 18 U.S.C. § 3142(f),

the Court held a hearing on July 21, 2006, on the United States

Government’s Motion to Detain the defendant.          For the reasons set

forth below, the Court FINDS that the defendant’s detention pending

trial is warranted.

     On May 9, 2006, a federal grand jury issued an indictment

charging the defendant with the following offenses: one count of

conspiracy   to   possess   with   intent    to   distribute   cocaine,   in

violation of 21 U.S.C. § 846 and 841(a)(1) and (b)(1)(B)(ii); one

count of possession with intent to distribute cocaine, in violation

of 21 U.S.C. § 841(a)(1) and (b)(1)(C); one count of use of a

firearm in furtherance of a drug trafficking crime, in violation of

18 U.S.C. § 924(c)(1)(A); and one count of felon in possession of

a firearm, in violation of 18 U.S.C. § 922(g)(1).

     The defendant declined to put on evidence regarding his

detention and waived his detention hearing.         A defendant may waive

the right to a detention hearing guaranteed to him by 18 U.S.C.
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§ 3142(f).    See United States v. Clark, 865 F.2d 1433, 1436 (4th

Cir. 1989) (en banc) (holding that a defendant may waive the right

to a detention hearing or to the holding of a detention hearing

within the time requirements of 18 U.S.C. § 3142(f)). In accepting

the defendant’s waiver, the Court notes that defendant has an

extensive    criminal   history    including      convictions      for   numerous

felonies, including carjacking, use of a firearm in commission of

a felony, and grand larceny.

      In   reaching   its     determination     herein,    and    accepting    the

defendant’s waiver of his right to a detention hearing, the Court

took into account the defendant’s demeanor and concluded that he

understood the nature and consequences of his waiver of his rights

to a detention hearing.         The Court notes that the defendant was

represented by counsel at the detention hearing.

      Accordingly, the Court FINDS that the defendant should be

detained pending trial.        The Court therefore ORDERS the defendant

DETAINED pending trial.         See 18 U.S.C. § 3142(e) and (f); United

States v. Gebro, 948 F.2d 1118, 1121 (9th Cir. 1991); United States

v. Araneda, 899 F.2d 368, 370 (5th Cir. 1990); United States v.

Jackson, 823 F.2d 4, 5 (2d Cir. 1987); United States v. Medina, 775

F.2d 1398, 1402 (11th Cir. 1985).

      Consequently,     the    Court    further   ORDERS    the    defendant    be

committed to the custody of the Attorney General or his designated

representative for confinement in a corrections facility separate,

to   the   extent   practicable,       from   persons   awaiting    or    serving

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sentences or being held in custody pending appeal.         The defendant

shall be afforded a reasonable opportunity for private consultation

with defense counsel.    On order of a court of the United States or

on request of an attorney for the Government, the person in charge

of the corrections facility shall deliver the defendant to the

United States Marshal for an appearance in connection with a court

proceeding.

     The Clerk shall mail or deliver a copy of this order to (i)

the United States Attorney at Norfolk, (ii) the United States

Marshal at Norfolk, (iii) the United States Pretrial Services

Office at Norfolk, and (iv) counsel of record for the defendant.


                                                     /s/
                                        F. Bradford Stillman
                                        United States Magistrate Judge

Norfolk, Virginia

July 20, 2006




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